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 8
                       IN THE UNITED STATES DISTRICT COURT

 9
                    FOR THE EASTERN DISTRICT OF CALIFORNIA

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11
     UNITED STATES OF AMERICA,                ) Case No.: 1:03-cr-05220- OWW
                                              )
12
                  Plaintiff,                  ) STIPUALATION AND ORDER TO
                                              ) CONTINUE SENTENCING
           vs.                                )
13
                                              )
14
     MARTIN ESPANA VILLASENOR,                )
                                              )
15
                  Defendant.                  )
                                              ) Dated: July 5, 2005
16
                                              ) Time: 9:00 a.m.
                                              ) Judge: Oliver W. Wanger
17

18         The parties hereto, by and through their respective attorneys, stipulate and

19   agree the sentencing currently scheduled for July 5, 2005 be continued to August

20   29, 2005 at 9:00 am. in the above-entitled court. Time is excluded pursuant to the

21
     Speedy Trial Act for further investigation and preparation of the case.

22

23
     DATED: ________________                   By_____________________
                                                  STANLEY BOONE
24                                                Assistant U.S. Attorney
25
     Dated: June 28, 2005                            ______________________
26
                                                     THOMAS J. RICHARDSON
27                                                   Attorney for Defendant



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 1

 2   SO ORDERED:
 3
     DATED:___June 30______, 2005              /s/ OLIVER W. WANGER__
 4                                             OLIVER W. WANGER
                                               U.S. DISTRICT COURT JUDGE
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